Case 19-32700-acs   Doc 10   Filed 09/08/19   Entered 09/08/19 12:20:09   Page 1 of 36
Case 19-32700-acs   Doc 10   Filed 09/08/19   Entered 09/08/19 12:20:09   Page 2 of 36
Case 19-32700-acs   Doc 10   Filed 09/08/19   Entered 09/08/19 12:20:09   Page 3 of 36
Case 19-32700-acs   Doc 10   Filed 09/08/19   Entered 09/08/19 12:20:09   Page 4 of 36
Case 19-32700-acs   Doc 10   Filed 09/08/19   Entered 09/08/19 12:20:09   Page 5 of 36
Case 19-32700-acs   Doc 10   Filed 09/08/19   Entered 09/08/19 12:20:09   Page 6 of 36
Case 19-32700-acs   Doc 10   Filed 09/08/19   Entered 09/08/19 12:20:09   Page 7 of 36
Case 19-32700-acs   Doc 10   Filed 09/08/19   Entered 09/08/19 12:20:09   Page 8 of 36
Case 19-32700-acs   Doc 10   Filed 09/08/19   Entered 09/08/19 12:20:09   Page 9 of 36
Case 19-32700-acs   Doc 10   Filed 09/08/19   Entered 09/08/19 12:20:09   Page 10 of
                                         36
Case 19-32700-acs   Doc 10   Filed 09/08/19   Entered 09/08/19 12:20:09   Page 11 of
                                         36
Case 19-32700-acs   Doc 10   Filed 09/08/19   Entered 09/08/19 12:20:09   Page 12 of
                                         36
Case 19-32700-acs   Doc 10   Filed 09/08/19   Entered 09/08/19 12:20:09   Page 13 of
                                         36
Case 19-32700-acs   Doc 10   Filed 09/08/19   Entered 09/08/19 12:20:09   Page 14 of
                                         36
Case 19-32700-acs   Doc 10   Filed 09/08/19   Entered 09/08/19 12:20:09   Page 15 of
                                         36
Case 19-32700-acs   Doc 10   Filed 09/08/19   Entered 09/08/19 12:20:09   Page 16 of
                                         36
Case 19-32700-acs   Doc 10   Filed 09/08/19   Entered 09/08/19 12:20:09   Page 17 of
                                         36
Case 19-32700-acs   Doc 10   Filed 09/08/19   Entered 09/08/19 12:20:09   Page 18 of
                                         36
Case 19-32700-acs   Doc 10   Filed 09/08/19   Entered 09/08/19 12:20:09   Page 19 of
                                         36
Case 19-32700-acs   Doc 10   Filed 09/08/19   Entered 09/08/19 12:20:09   Page 20 of
                                         36
Case 19-32700-acs   Doc 10   Filed 09/08/19   Entered 09/08/19 12:20:09   Page 21 of
                                         36
Case 19-32700-acs   Doc 10   Filed 09/08/19   Entered 09/08/19 12:20:09   Page 22 of
                                         36
Case 19-32700-acs   Doc 10   Filed 09/08/19   Entered 09/08/19 12:20:09   Page 23 of
                                         36
Case 19-32700-acs   Doc 10   Filed 09/08/19   Entered 09/08/19 12:20:09   Page 24 of
                                         36
Case 19-32700-acs   Doc 10   Filed 09/08/19   Entered 09/08/19 12:20:09   Page 25 of
                                         36
Case 19-32700-acs   Doc 10   Filed 09/08/19   Entered 09/08/19 12:20:09   Page 26 of
                                         36
Case 19-32700-acs   Doc 10   Filed 09/08/19   Entered 09/08/19 12:20:09   Page 27 of
                                         36
Case 19-32700-acs   Doc 10   Filed 09/08/19   Entered 09/08/19 12:20:09   Page 28 of
                                         36
Case 19-32700-acs   Doc 10   Filed 09/08/19   Entered 09/08/19 12:20:09   Page 29 of
                                         36
Case 19-32700-acs   Doc 10   Filed 09/08/19   Entered 09/08/19 12:20:09   Page 30 of
                                         36
Case 19-32700-acs   Doc 10   Filed 09/08/19   Entered 09/08/19 12:20:09   Page 31 of
                                         36
Case 19-32700-acs   Doc 10   Filed 09/08/19   Entered 09/08/19 12:20:09   Page 32 of
                                         36
Case 19-32700-acs   Doc 10   Filed 09/08/19   Entered 09/08/19 12:20:09   Page 33 of
                                         36
Case 19-32700-acs   Doc 10   Filed 09/08/19   Entered 09/08/19 12:20:09   Page 34 of
                                         36
Case 19-32700-acs   Doc 10   Filed 09/08/19   Entered 09/08/19 12:20:09   Page 35 of
                                         36
Case 19-32700-acs   Doc 10   Filed 09/08/19   Entered 09/08/19 12:20:09   Page 36 of
                                         36
